Case 1:01-tp-00044-PCH Document 1 Entered on FLSD Docket 04/10/2001 Page 1 of 15

 

PROB 22 DOCKET NUMBER (Tran. Court}
(Rev. 2/88) 99-0410-01

TRANSFER OF JURISDICTION | :
DOCKET NUMBER (Rec. Court)

OI-NN- TP- Hues

y

 

 

 

NAME AND ADDRESS OF PROBATIONER/SUPER VISED RELEASEE: DISTRICT DIVISION
Joseph G. Vincent District of Columbia U.S. Probation Office
7125 N.W. 186" Street, #B-409 ,
i, NAME OF SENTENCING JUDGE
Miami, FL

Henry H. Kennedy

 

KELLASL.

 

 

OFFENSE

Passport Fraud

 

PART 1 - ORDER TRANSFERRING JURISDICTION

 

UNTPFED STATES DISTRICT COUR F FOR THF DISTRICT OF COLUMBIA

 

 

ITIS HEREBY ORDERED that pursuant to (8 U.S.C 3605 the jurisdiction of the probationer named above be
iransterred with the records of the Court to the Linited States District Court for the Southern District ot Florida upon that
Court s order of acceptance of jurisdiction This Court tisieby eapressiy consents that the period of probation may be
changed by the District Court to which this transfer is made without further inquiry of this Court.*

 

 

(2frU/e bles [Okara ty, Z

Date United States District Judge

 

A
*This sentence may be deleted in the discretion of the transferring Court.

 

PART 2 - ORDER ACCEPTING JURISDICTION

 

UNITED STATES DISTRICT COURT FOR THE SOUTHERN DISTRICT OF FLORIDA

 

ITS HEREBY ORDERED that jurisdiction over the above-named probationer be accepted and assumed by
this Court from and after the entry of this order.

2 p0| /

ev
Effective Date United States District Judge NN

 

 

 

 

ALAN S. GOLD

United States District Court {
ior the Diserict of Columbia

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BARCY BAYER WHITTINGTON. Cer

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Case 1:01-tp-00044-PCH Document1 Entered on FLSD Docket 04/10/2001 Page 2 of 15

UNITED STATES DISTRICT COURT

FOR THE DISTRICT OF COLUMBIA
Holding a Criminal Term

Grand Jury Sworn in on June 17, 1999 5 9 9 -Q 4 { 0

UNITED STATES OF AMERICA : Magistrate No. 99-626M
; .
JOSEPH GERTAND VINCENT VIOLATION:
Defendant. 18 U.S.C. § 1542

( False Statement in Application

KENNER, Af d. AK for Passport)
B INDICTMENT FILED IN OPEN COURT
DEC 1 9 1999

a CLERK, U.S. DISTRICT COURT
COUNT ONE DISTRICT OF COLUMBIA

The Grand Jury charges that.

On or about the 17" day of November, 1999, within the District of Columbia, the defendant,
JOSEPH GERTAND VINCENT, willfully and knowingly made a false statement in an application
for a passport with intent to induce and secure for his own use the issuance of a passport under the
authority of the Pimted States, contrary tu the iawo ieguidtiny the issuance of such passports and the

rules prescribed pursuant to such laws, in that in such application the defendant falsely swore that he

United States District Court
for the District of Columbia
A TRUE COPy

MANCY MAYER-WHITTINGTON, Clork
AN Lf ¢ 7)

    
Case 1:01-tp-00044-PCH Document 1 Entered on FLSD Docket 04/10/2001 Page 3 of 15
4

was Rrandon Vincent and thai ue was vorn in indiana on September 27, 1967, which statements he
knew to be false.

(False Statement in Application for Passport, in violation of Title 18, United States Code,
Section 1542)

A IRUE BILL

 

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~ A : a ao 4 anes } , f : "7
Nake VS preted No
ATTORNEY FOR THE UNITED STATES IN
AND FOR THE DISTRICT OF COLUMBIA
Case 1:01-tp-00044-PCH Document 1 Entered on FLSD Docket 04/10/2001 Page 4 of 15

 

AQ 24SB-a (Revised -DC 1/00) Judgment in "inal Case
t oT
UNITED STATES DISTRICT COURT
District of Columbia c fal 7M
antl | + a
UNITED STATES OF AMERICA JUDGMENT IN A CRIMINAL CASE
Vv. (For Offenses Committed On or After November |, 1987)
JOSEPH GERTRAND VINCENT Case Number: 99-0410-01

Bernard Grimm, Esquire & Jennifer Wicks. Esquire

LA LeHUAUES ALOIS
{HE DEFENDANT:
&) pleaded guilty to count(s) Count 1 of the Information on May 5, 2000.

C1 pleaded nolo contendere to count(s)
which was accepted by the court.

 

[0 was found guilty on
after a plea of not guilty.

 

 

Date Count
Section & Title Nature of Offense Concluded Number(s)
18 USC 1028(aX4),(bx6) PASSPORT FRAUD 114749 1

The defendant is sentenced as provided in pages 2 through 6 of this judgment. The sentence 's imposed pursuant to
the Sentencing Reform Act of 1984.

[) The defendant has been found pet guilty on countis)

 

Counts) remaining Pyis 1 are dismissed on the motion of the United States

 

Cc

ITIS FURTHER ORDERED that the defendant shall netifK the United States Satarnes for this district w ldiua 30 days uf any
change vf name. residence. or matling address until all fines, restitution, casts. ind id special ‘assessments imposed by this judgment

Dd

are fully paid.

Defendant's Soc. Sec XXX-XX-XXXX October 27, 2000

Date of Imposition of Judgment
Defendant's Date of Birth 9/28/65

Defendant's USMNo _23127-016

    

Judic@al Officer ee

   

Signature
Defendant's Residence Address

6960 Northwest 186th Street, Apartment 129
Haliegh, Florida 33015 ,
HENRY H. KENNEDY, JR., U.S. DISTRICT COURT JUDGE

Name and Title of Judicial Officer

(305) 362-6977

¢ of3. lop

 

Defendant's Mailing Address pare
SAME AS ABOVE Laited States District Court
ine the District of Columbix
a TRUE LOOPY (
\ FANCY MAYER -WHITTINGTON © or: ol |
Case 1:01-tp-00044-PCH Document 1 Entered on FLSD Docket 04/10/2001 Page 5 of 15

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AO 245B-i (Revised-DC 1/00) Sheet4Pro 4

 

DEFENDANT: JOSEPH GERTRAND VINCENT Judgment Page 2 of 6

CASE NUMBER: 00.0410.51

PROBATION

The defendant is hereby placed on a probation for a term of two (2) years. The Court orders that Probation Supervision shall be
transferred to the Southern District of Florida, Miami Office.. but juridisction shall remain in the District of Columbia.

The defendant shall not commit another federal crate ar baco!l erin,

The defendant shall not illegally possess a controlled substance.

For offenses committed on or after September 13, 1994:

The defendant shall refrain from any unlawful use of a controlled substance. The defendant shall submit to one drug test within

15 days of placement on probation and at least two periodic drug tests thereafter, as directed by the probation officer.

i

&] The above drug testing condition is suspended based on the court's determination that the defendant poses a low risk of
future substance abuse. (Check, if applicable.)

The defendant shall not possess a firearm as defined in [8 U.S.C. § 921. (Check, if applicable.)

If this judgment imposes a fine or a restitution obligation. it shall be a condition of probation that the defendant pay any such
fine or restitution in accordance with the Schedule of Pavments set forth in the Criminal Monetary Penalties sheet of tins judgment.

  

The defendant shall comply with the standard conditions that have been adopted by this court (set forth below). The defendant

shall also comply with the additional conditions on the attached page.

~
~~

STANDARD CONDITIONS OF SUPERVISION

the defendant shall not leave the judicial district without the permission of the cour or probation officer:

the defendant shall report tu the probation officer and shal! submit a truthful and complete written report within the first five
days of each month;

the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer:
the detendant shall support his or her dependents and meci other fanuly responsibilities:

the defendant shall work regularly ata lawful occupation cefoss aycused Pi che fr bation ullicer iar schooling. training, ar other
acceplabie reasons:

the defendant shal} notily the probation officer ten days prior to any change in residence or employment:

the defendant shall retrain from excessive use of alcohol;

the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered:

the defendant shall not associate with any persons engaged in criminal activity. and shall not associate with any person convicted
of a felony unless granted permission to do so by the probation officer,

the defendant shail permit a probation officer to visit him or her at any time at home er elsewhere and shall permit confiscation
of any contraband observed in plain view of the probation officer:

the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement
officer;

the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without
the permission of the court;

as directed by the probation officer, the defendant shail notify third parties of risks that may be occasioned by the defendant's
criminal record or personal history or characteristics, and shall permit the probation officer to make such notifications and to
confirm the defendant's comphance with such notification requirement.
Case 1:01-tp-00044-PCH Document 1 Entered on FLSD Docket 04/10/2001 Page 6 of 15

AQ 245B-1 (Revised-DC | /00) Judgment in "minal Case - Sheet 4 - Probation - Continued 3

 

R Judgmeni Page 3 of 6
DEFENDANT: JOSEPH GERTRAND VINCENT udgmeni Page 3 o

CASE NUMBEK: 99-0410-01

SPECIAL CONDITIONS OF SUPERVISION

1. The defendant shail participate in Vocational Training at the direction of the Probation Office.
Case 1:01-tp-00044-PCH Document 1 Entered on FLSD Docket 04/10/2001 Page 7 of 15

2

AO 24513-M (Revised-DC 1/00) Sheet 5... : Criminal Monetary Penalties

 

DEFENDANT: JOSEPH GERTRAND VINCENT Judgment Page 4 of 6

CASE NUMBER: ¥9-0410-01

CRIMINAL MONETARY PENALTIES

 

Ee Fine tee oe -. Restitution: -

 

 

 

 

 

 

 

 

 

 

 

| TOTALS: $25.00

 

 

FINF

The above fine includes costs of incarceration and/or supervision in the amount of

The defendant shall pay interest on any fine more than $2.500. unless the fine is paid in full before the fifteenth day after the date
of judgment, pursuant to 18 U.S.C. $ 3612(f). All ef the options on Sheet 3, Part B may be subject to penalties for default and
delinquency pursuant to 18 U.S.C. § 3612(g),

(The court has determined that the defendant does not have the ability to pay interest and it is ordered that:

LJ {he interest requirement is waived

[J The interest requitement is modified as followsf1] am p.m. on

en errs.

RESTITUTION

{1 The determination of restitution ts deferred until _ An Amended ludgment in a Criminal
Case will be entered after such determination.

C) The defendant shall make restitution to the following pavees in the amounts listed below (See Sheet 5. Part A, Continued 2 to
add additional payees).
If the defendant makes a partial payment. each pavee shai] receive an approximately proportional payment unless specified
otherwise in the priority order or percentage payment column below.
Priority Order

*Total Amount of or Percentage
Name and Address of Payee Amount of Loss Restitution Ordered of Payment

 

 

big rig Tyrie PU RR. Or
payed

* Findings for the total amount of losses are required under Chapters 109A. } GA and TEVA of Tass cane TR TORECOTTTTTITITICT

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oro Ris Oi paver io. rvv4 oul perore April 23, 1996,
Case 1:01-tp-00044-PCH Document 1 Entered on FLSD Docket 04/10/2001 Page 8 of 15

AO 245B-p (Revised-DC 1/00) Sheet 5, Part minal Monetary Penalties

 

DEFENDANT JOSEPH GFRTRAND VINCENT Meeiicad Boge 080
CASt NUMBER: 99.0410-01

SCHEDULE OF PAYMENTS

Payments shall be applied in the following order: (1) assessment; (2) restitution; (3) fine principal: (4) cost of prosecution;
(5) interest; (6) penalties.

Payment of the total fine and other criminal monetary penalties shall be due as follows:

A mM In fall immedaicly, v1

B Tj $ immediately, balance due (in accordance with C, D, or E); or

C BY not later than April 27, 2001

D {CJ in installments to commence days after the date of this judgment. In the event the entire amount of criminal
monetary penalties imposed is not paid prior to the commencement of supervision, the U.S. probation officer shall pursue
collection of the amount due, and shall request the court to establish a payment schedule if appropriate: or

E D in te g., equal. weekly, monthiy, quarterfy) installments of $ over a period of

year(s) to commence days after the date of this judgment.

“

The defendant will be credited for ail pavments previously made toward anv criminal monetary penalties imnosed.

Special instructions regarding the payment ol criminal monetary penalties:

Cl The defendant shall pay the cost of prosecution.

[The detendant shall forfeit the defendant's interest in the following property to the linited States:

Unless the court has expressly ordered otherwise in the special instructions above, if this judgment imposes a period of
imprisonment, Dav ment of criminal monetary penalties shall hee dua dirtier tha orird of, Ben PL OUCH Ali ul ifiMal monetary penalty
rarensats, Cacepit tose payments m ade through the Bureau of Prisons’ Inmate Financial Re sponsthility Program. aie io be made as
directed by the court. tie probation officer. or the | nited States attarney,
Case 1:01-tp-00044-PCH Document 1 Entered on FLSD Docket 04/10/2001 Page 9 of 15

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AO 245B-S (Revised-DC I /00) Sheet 6-S ent of Reasons
Pageant raye Ouro
BOCPENDANT: JOSEPH GERLRAND VINCENT
CASE NUMBER: 99-0410-01

STATEMENT OF REASONS

NK The court adopts the factual findings and guideline application in the presentence report.

(0 The court adopts the factual finding and guideline application in the presentence report except (see attachment. if necessary):

Guideline Range Determined by the Court:

Total Offense Level: 6

Crintinai History Category:

 

 

Imprisonment Range: to
Supervised Release Range: d
Fine Range: $ Soo to $ +, Ges

 

Ki Fine waived or helow the guideline range because of inability to pay.

Total Amount of Restitution: § _

 

K Restitution is not ordered because the complication and prolongation of the sentencing process resulding irom the fashioning
of 8 restitution order outweighs the need to provide restitution fo any victims. pursuant to fR EES © 8 3663(d).

C) For offenses committed on or after September 13, 1994 but before April 23, 1996 that require the total amount of loss te
be stated. pursuant io Chapters 109A, 1 1G, 1 1A. and 113A of Title 18. restitution is not ordered because the economic
circumstances of the defendant do nut aliow for the payment of ans amount of a restitution order, and do not aliow tor the

payinent of any or some portion of a restitution order in the foreseui

[J Partial restitution is ordered for the following reason(s):

ble future under any reasonable schedule of payments.

kK The sentence is within the guideline range. that range dues nut exceed 24 months, and the court finds no reason to depart from

the sentence called for by the application of the guidelines

[J The sentence is within the guideline range. thal ratige eveeeds 24 months. and the sentence 's imposed fer the following reasons:

() The sentence departs from the guideline range:

(1s upon motion of the government, as a result of defendant's substantial assistance.

[] for the following specific reason(s):
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U.S.

CRIMINAL DOCKET FOR CASE #:

USA v. VINCENT

Other Dkt # 1:99-m -00626
Case Assigned to:
JOSEPH GERTAND VINCENT

defendant
frerm 10/27/99]

(1)

Pending Counts:

NONE

Terminated Counts:

18:1542; FALSE STATEMENT IN
APPLICATION/USE OF PASSPORT;
False Statement in Application
for Passport.

(1)

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Docket as of February 16,

Judge Henry H.

xD

CAT B CLOSED
PRIOR

District Court
USDC District of Columbia

(Washington)
99-CR-410-ALL

Filed: 12/15/99

Kennedy

Jenifer Wicks

FTS 488-8604

202-408-4884 FAX

[COR LD NTC ret]

307 G Street, N.W.

Washington, DC 20001-2603

AREA CODE (202)

Charles Ford Stow, III
{term 91/64/00]

FTS 569-9161

(COR LD NTC ret]

6919 Spur Road

Springfield, VA 22153

AREA CODE (703)

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986-5475 FAX
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Disposition “y "aa
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Dismissed upon oral motion of

the government.

(1)
Case 1:01-tp-00044-PCH Document 1 Entered on FLSD Docket 04/10/2001 Page 11 of 15

Proceedings include all events.
1:99cr410-ALL USA v. VINCENT

18:1028; FRAUD WITH
IDENTIFICATION DOCUMENTS ;

Passport Fraud.
(1s)
Offense Level (Gisposition): 4

Complaints

COMPLAINT Filed in Violation
of 18:1542
[ 1:99-m -626 }

U. S. Attorneys:

Kenneth Wiitram Cowgill
[term 07/10/00]

FTS 514-7273

Misdemeanor Trl Sec
[COR LD NTC gvt]

Patricia Heffernan

PTS 514-7273

5909

[COR LD NTC gvt]

U.S. ATTORNEY’S OFFICE

Judiciary Center Building

555 Fourth Street, NW

Washington, DC 20001

AREA CODE (202)

Docket as of February 16. 7901

CAT B
CLOsSmD
PRIOR
Defendant sentenced to Two (2)
years Probation. Probation
Supervision shall be
transferred to the Southern

District of Florida, Miami
Office; special assessment of
$25.00 imposed.

(1s)

Disposition

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Case 1:01-tp-00044-PCH Document 1 Entered on FLSD Docket 04/10/2001 Page 12 of 15

Proceedings include all events. CAT B
1:99cr410-ALL USA v. VINCENT CLOSED
PRIOR

11/17/99 -- DEFENDANT JOSEPH GERTAND VINCENT arrested.
[ 1:99-m -626 ] (kk) [Entry date 11/18/99]

11/18/99 1 MAGISTRATE COMPLAINT and Affidavit filed against JOSEPH
GERTAND VINCENT in violation of 18:1542.
{ 1:99-m -626 ] (kk) [Entry date 11/18/99]

11/18/99 -- PDID AND DATE OF BIRTH for JOSEPH GERTAND VINCENT : PDID #:
515344 DOB: 9/28/65
{ 1:99-m -626 ] (kk) ([Entrv date 11/19/9091

11/18/99 -- INITIAL APPEARANCE on magistrate complaint for JOSEPH
GERTAND VINCENT held before Magistrate Judge Alan Kay :
Attorney appearance for JOSEPH GERTAND VINCENT by Charles
Ford Stow, III. Preliminary/Detention hearing set for 10:56
AM on 11/22/99 for JOSEPH GERTAND VINCENT. Defendant
committed/commitment issued. (Reporter: Pro-Typists, Inc.;
Tape & Lines: CT 27-99-198, 5143-5857) (Interpreter: Carol
Valcourt }
[ 1:99-m -626 ] (kk) [Entry date 11/23/99]

11/18/99 2 ATTORNEY APPEARANCE for defendant JOSEPH GERTAND VINCENT by

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11/18/99 --

11/22/99 --

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Docket as of

ebruary 16, 2001 14-177

Charies Ford Stow, ITI

{| 1:99-m -626 ] (kk) [Entry date 11/22/99]
URDER by Magistrate Judge Alan Kay as to JOSEPH GERTAND
VINCENT : cf temporary detention pending hearing pursuant

to Baii Reform Act (N)
[ 1:99-m -626 ] (kk) [Entry date 11/23/99]

DEFENDANT JOSEPH GERTAND VINCENT ordered held without bond
by Magistrate Judge Alan Kay.
f 1:99-m -626 } ikk) [Entry date 11/23/99]

Voas to FOSEDH CEEVTAND VINCENT : JOSEPH GERTAND VINCENT
dered held for the Grand Jury - probable cause shown.
620,00 9.00 cash or $19,000.00 surety bond (without
collateral) set for JOSEPH GERTAND VINCENT. Defendant
committed/commitment issued. (Reporter: Pro-Typists, Inc.;
Tape & Lines: CT 27-99-200, 5867-7133 and CT 27-99-2001,
0001-0660) (Interpreter: Carol Valcourt)

[ 1:99-m -626 ] (kk) [Entry date 11/23/99]

[Edit date 11/23/99)

RELIMINARY/DETENTION HEARING before Magistrate Judae Alan

ORAL BOND set by Magistrate Judge Alan Kay as to JOSEPH
GERTAND VINCENT for $20,000.00 cash or $10,000.00 surety
(without collateral).

f 1:99-m -626 ] (kk) [Entry date 11/23/99]

INDICTMENT filed against JOSEPH GERTAND VINCENT (1)
count (s) 1 (hsj) (Entry date 12/30/99]

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Case 1:01-tp-00044-PCH Document 1 Entered on FLSD Docket 04/10/2001 Page 13 of 15

Proceedings include all events. CAT B
1:99cr410-ALL USA v. VINCENT CLOSED
PRIOR

12/15/99 -- CASE ASSIGNED to Judge Henry H. Kennedy as to JOSEPH

GERTAND VINCENT . (hsj) [Entry date 12/30/99]
12/15/99 -- Attorney representation for USA by Kenneth William

Cowgill. (hsj) [Entry date 12/30/99]
12/15/99 -- Prison Registration Number for JOSEPH GERTAND VINCENT

Reg.#: 23129-016. (hsj) [Entry date 12/30/99]
12/20/99 -- ARRAIGNMENT held before Magistrate Judss Ishi MN. Facciola

ap LO JOoSrPH GERTAND VINCENT (1) count(s) 1: Plea not
guilty entered by JOSEPH GERTAND VINCENT (1) count(s) 1.
Status hearing set for 9:45 1/14/00; motions filed within
10 days; response to motions due within 7 days for JOSEPH
GERTAND VINCENT. Defendant committed/commitment issued.
Reporter: Pro-Typists, Inc. Tape: Ct 27-99-224: Lines:
3399-4068 (hsj) [Entry date 01/06/00]

12/20/99 -- ARRAIGNMENT held before Magistrate Judge John M. Facciola
as to, JOSEPH GERTAND VINCENT (1) count(s) 1: Plea not
guilty entered by JOSEPH GERTAND VINCENT (1) count(s) 1.
Status hearing set for 9:45 1/14/00 before Judge Kennedy
for JOSEPH GERTAND VINCENT. Defendant released on
$20,000.00 cash bond and 3rd Party Custody ti Marva Rigsby.
Defendant Released/Release Tasued. Reporter:
rro-~Typists, Inc. Tape: Ct 27-99-226; Lines: 3224-23728; Ct
27-99-224; Lines: 3395-4068 (hs}) [Entry date 01/06/00]

12/20/99 5 BOND filed and approved by Magistrate Judge John M.
Facciola as to JOSEPH GERTAND VINCENT : for secured
appearance bond in the amount of $29,000.90. Bond secured
with Cash by Marva Rigsby Depositor. Depositor'’s Address:
2205 Wheatley Drive, Baltimore, Maryland 21207. Dftaddr:
2305 Wheatley Drive, Baltimore, Maryland 21207. (hsj)
[entry date 01/06/00]

1/4/06 6 ATTORNEY APPEARANCE for JOSEPH GERTAND VINCENT by Bernard
Grimm (ks) [Entry date 01/21/00]

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STATUS HEARING before Judge Henry H. Kennedy as to JOSEPH
GERTAND VINCENT: Oral motion of defendant to waive Speedy
Trial, granted. Status hearing set for 9:45 4/28/00 for
JOSEPH GERTAND VINCENT. In the interest of justice, time
excluded from 1/14/00 to 4/28/00. Defendant continued on
bond. Reporter: Edward Hawkins (hsj) [Entry date 01/28/00]

1/14/00 7 ATTORNEY APPEARANCE for JOSEPH GERTAND VINCENT by Bernard
Grimm. (hsj) [Entry date 01/28/00]

1/21/00 8 MOTION filed by JOSEPH GERTAND VINCENT to modify
conditions of release (erd) [Entry date 02/07/00]

1/28/00 9 MOTION filed by JOSEPH GERTAND VINCENT to modify
conditions of release (ks) [Entry date 02/07/00]

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Docket as of February 16, 2001 10-71% am Faye 4
Case 1:01-tp-00044-PCH Document 1 Entered on FLSD Docket 04/10/2001 Page 14 of 15

Proceedings include all events. CAT B
1:99cr410-ALL USA v. VINCENT CLOSEU

PRIOR
2/4/00 10 ORDER by Judge Henry H. Kennedy as to JOSEPH GERTAND

2/7/00

4/28/00

5/3/00

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VINCENT : granting motion to modify conditions of release
[9-1] as to JOSEPH GERTAND VINCENT (1), granting motion to
modify conditions of release [8-1] as to JOSEPH GERTAND
VINCENT (1): That the defendant may move back to Florida
with his family until his next court. At the following
address: 6960 Northwest 186th Street, Apartment 129,
Haliegh, Florida 33015. (N) (erd) [Entry date 02/14/00]

RECTONSE wy usA in opposition to motion to modify
conditions of release. (erd) [Entry date 02/28/00]

STATUS HEARING before Judge Henry H. Kennedy as to JOSEPH
GERTAND VINCENT: Status hearing set for 9:30 5/5/00 for
JOSEPH CERTAND VINCENT. Defendant continued on bond.
Reporter: William D. McAllister (hsj) [Entry date 05/04/00]

SUPERSEDING INFORMATION filed against JOSEPH GERTAND
VINCENT (1) countis) is. (hsj) [Entry date 05/05/00]

PLEA AGREEMENT filed as to JOSEPH GERTAND VINCENT . (hsj)
[Entry date 05/09/00]

WAIVER ol Triai by Jury as fo TOSEPE CERTAND VINCENT
AppLrovea py Judge Henry H. Kennedy . (hsj}
[Entry date 05/09/00)

STATUS HEARING before Judge Henry H. Kennedy as to JOSEPH
GERTAND VINCENT: Plea not guilty withdrawn as to JOSEPH
GERTAND VINCENT (1) counti{s) 1s. Piea guilty entered by
JOSEPH GERTAND VINCENT (1; count(s) 1s. JOSEPH GERTAND
VINCENT referred for pre-sentence investigation report.
Sentence set for 9:45 8/25/00 for JOSEPH GERTAND VINCENT.
Defendant continued on bond. Reporter: Gilbert Bowles,
Miller Reporting Tompany (‘hsj; (entry date 05/11/00]

UNOPPOSED MOTION filed by USA as to JOSEPH GERTAND VINCENT
to supplement the Rule 11 Colloquy. (nsj)
[Entry date 06/08/00]

ORDER by Judge Henry H. Kennedy as to JOSEPH GERTAND
VINCENT : granting motion to supplement the Rule 11
Colloquy. [15-1] as to JOSEPH GERTAND VINCENT (1) (N) (aet)
{Entry date 06/23/00]

ATTORNEY APPEARANCE for USA by Patricia Heffernan (erd)}
[Entry date 07/18/00]

SCHEDULING NOTICE as to JOSEPH GERTAND VINCENT : Sentence
reset for 10:15 10/5/00 for JOSEPH GERTAND VINCENT .
before Judge Henry H. Kennedy . (den) [Entry date 08/29/00]

Jocket as of February 16, 2001 19:12 am Dayt 2
Case 1:01-tp-00044-PCH Document 1 Entered on FLSD Docket 04/10/2001 Page 15 of 15

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Proceedings include all events. CAT B
1:99cr410-ALL USA v. VINCENT CLOSED
PRIOR
10/20/00 -- SCHEDULING NOTICE as to JOSEPH GERTAND VINCENT  : Sentence
set for 11:15 10/27/00 for JOSEPH GERTAND VINCENT . before
Judge Henry H. Kennedy . (den) [Entry date 10/20/00]
10/24/00 18 SUBSTITUTION OF COUNSEL for JOSEPH GERTAND VINCENT ,

10/27/00

10/27/00

10/27/00

10/31/09

11/1/90

2/7/01

Docket as

19

23

substituting Jenifer Wicks for attorney Bernard Grimm as
to JOSEPH GERTAND VINCENT (aet) [Entry date 10/26/00]

SENTENCING by Judge Henry H. Kennedy for JOSEPH GERTAND
VINCENT (1) count(s) 1s. Defendant contenced wo Two {24}
yeaLs rrobation. Probation Supervision shall be
transferred to the Southern District of Florida, Miami
Office; special assessment of $25.00 imposed. Count (s) 1
dismissed upon oral motion of the government. The
defendant shall participate in vocational traning at the
direction of the Probation Office. Defendant on

probation. Court Reporter: Miller Reporting Co., Dolores
Byers (erd) [Entry date 11/01/00]

RECEIPT and Acknowledgment of Presentence Investigation
Report by JOSEPH GERTAND VINCENT. (erd)
[Entry date 11/01/00]

RECEIPT and Acknowledgment of Presentence InvesLligation
Report by USA as to JOSPPH CPPTAND VINCENT.  .erd)
[entry date 11/01/00]

JUDGMENT and Probation Order issued by Judge Henry H.
Kennedy as to JOSEPH GERTAND VINCENT, with Statement of

Reasons. ferd) [Entry date 11/01/60]

ORDER by Judge denry H. Kennedy as to JOSEPH GERTAND
VINCENT: for return of cash deposit. Cash deposit in
the amount of $20,000.00 returned to Marva Rigsby at 2305
Wheatley Drive, Baltimore, Maryland 21207, Paid by Finance
Division on LET ao| (N; \hsj) iEnery date 11/07/00}

ORDER TRANSFERRING JURISDICTION pursuant to 18 U.S.C. 3605
by Judge Henry H. Kennedy as to JOSEPH GERTAND VINCENT to
the USDC for S/D of Florida at Miami. Forwarded certified
copies of docket sheet, Indictment/Information, Judgment
and Probation Order, and Order of Transfer of Jurisdiction
of Probation. (hsj) [Entry date 02/16/01]

of February 16, 2001 19:79 am rade 6
